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                                   United States District Court
                                    Western District of Texas
                                        Austin Division

 United States of America,
        Plaintiff,

        v.                                                Case No. 1:23-CR-00135(1)-RP

 Saint Jovite Youngblood,
        Defendant.

                                      Notice of Appearance

       The Clerk of the above Court will please note the appearance of the undersigned as counsel

for the Plaintiff, United States of America, in the above-captioned case for the purpose of

collecting on this debt. It is requested that service of copies of all notices, pleadings and other

papers be effected upon the United States Attorney for the Western District of Texas, addressed

as follows:

                                    WARREN R. KAUFMAN
                                 Assistant United States Attorney
                                  601 N.W. Loop 410, Suite 600
                                    San Antonio, Texas 78216
                                   Warren.Kaufman@usdoj.gov


                                                  Respectfully submitted,

                                                  MARGARET F. LEACHMAN
                                                  ACTING UNITED STATES ATTORNEY

                                            By: /s/ Warren R. Kaufman
                                                WARREN R. KAUFMAN
                                                Assistant United States Attorney
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                                     Certificate of Service

    I certify that on April 8, 2025, I electronically filed this document with the Clerk of Court
using the CM/ECF system.

   ☐ The CM/ECF system will send notification to the following CM/ECF participant(s):

   ☒ I also certify that I have mailed this document by United States Postal Service to the
     following non-CM/ECF participant(s):

        Saint Jovite Youngblood
        Reg. No. 70720-510
        FCI Victorville Medium II
        Federal Correctional Institution
        P.O. Box 3850
        Adelanto, CA 92301
        Defendant


                                                      /s/ Warren R. Kaufman
                                                      WARREN R. KAUFMAN
                                                      Assistant United States Attorney




                                                                        Notice of Appearance | 2
